                                                     SO ORDERED.


                                                     Dated: August 24, 2014




                                                     Daniel P. Collins, Chief Bankruptcy Judge
                                                     _________________________________




                                                      FIRST AMENDED




       RB
                                          30th                            November 30,
                                           xx                                  xxxxxxxx
      2013   xxxxx




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RB

                         and personal returns




                                         POC # 10.
                                                     RB




                                                               POC # 1.       RB




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              *** Since tax returns are on extension for entities Odyssey Cellars, Dragoon
              Mountain Vineyard, McLoughlin & Associates, and John McLoughin, confirmation
RB
              is without prejudice to review of those returns by the Trustee. These
              entities remain property of the bankruptcy estate.




                                        POC # 3.




                              Allowed
      RB
                              xxx
                              xxx




                                                                          ***
                                                                                 RB



                                    Russell Brown
                                    2014.08.19 17:10:16
                                    -07'00'




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